1. The failure of the court to charge so much of the Code (Ann. Supp.), § 68-9919, as defines the criminal offense of reckless driving, based on wilful and wanton disregard of the safety of other persons, was not error since the evidence as to wilfulness and wantonness did not authorize such charge.
2. The court erred in admitting evidence of the defendants, over timely objection, as to the amount of money expended by them in keeping their fleet of trucks in repair.
3. In an action for damages for personal injuries, based on negligence alone, it was not error for the court to omit to charge the jury on punitive damages. *Page 63 
4, 5, 6, and 8. The charges complained of in grounds 8, 9, 10, 11, and 14 of the motion for new trial were not erroneous.
7. Under the pleadings and the evidence in this case it was error requiring the grant of a new trial for the court to charge on the subject of accident.
9. Whether the verdict was inadequate is not considered.
10. The child here involved, being 5 years, 2 months and 25 days old, was too young, immature and inexperienced to possess sufficient judgment, prudence and discretion, to be chargeable with a failure to exercise due care for his own safety, or with contributory negligence, under the facts and circumstances of this case, and the court erred in overruling the plaintiff's demurrer to the answer of the defendants and in submitting the question of the child's capacity to the jury.
                          DECIDED MAY 8, 1948.
Mrs. Mary Jones Riggs sued Watson and Williams, a partnership, Herman Watson and Charles Williams, individually, and George Watt, their truck driver, for damages for the alleged negligent homicide of her child, Buddy Riggs, who contributed to her support and upon whom she was dependent.
The plaintiff alleged, and the evidence tended to show, substantially that the child was killed by being struck and run over by the truck of the defendants, near the noon hour on March 9, 1946, on Robbins Drive, a public street in Warner Robbins, a town of some 10 or 15 thousand people, and in a thickly populated area where many pedestrians and children used the street at all hours of the day, and within about 500 feet of a grammar school, and about 150 feet from a playground, used by great numbers of children at all hours of the day, and about 75 feet from a children's nursery and nursery playground; and the fact that a great many children used the street for various purposes was well known to the defendants at the time the child was killed; that the driver of the truck had a clear and unobstructed view of the street for about 450 feet before he struck said child, the street being about 45 feet wide, with an open area and unobstructed view of about 50 feet on each side of the street; that the street was level and completely straight. The negligence charged to the driver was a failure to keep a proper lookout, and to bring said truck to a stop, and to turn said truck to avoid striking the child, and to give any warning of the approach of the truck; in operating the truck at a rate of speed in excess of 15 miles per hour in violation of a city ordinance, and in operating said truck *Page 64 
without efficient and serviceable brakes and without a signaling device thereon. Additional negligence charged to the other defendants was in failing to properly inspect the truck to determine the condition of the brakes, and that it was without a signaling device, and in permitting George Watt (the driver) to operate the truck when he was mentally and physically incapable of doing so; that he possessed mental capacity not above that of a 10 or 12-year-old child, although he was a mature man, and that he was incapable of operating said truck, weighing approximately 4000 pounds, with a load of wood thereon weighing several hundred pounds, upon the street and under the conditions and circumstances described. It was also charged that the truck was negligently operated upon a public street at a speed greater than was reasonable and safe having due regard to the existing conditions of such street, and so as to endanger life and limb, and was operated in such a manner as to be in wilful and wanton disregard of the safety of persons, which conduct amounted to reckless driving, and was in violation of law, and that the driver was grossly negligent in not having the truck at the time under his immediate control.
The material allegations of the answer of the defendants are that the child, shown to be 5 years, 2 months and 25 days old, was an intelligent child and capable of exercising diligence and care for his own protection at the time and place he was killed; that notwithstanding such capacity for recognizing danger and avoiding the result thereof, the child carelessly ran into a traveled highway in a thickly populated community immediately in front of the truck, which made it impossible for the driver to stop, or turn the truck so as to avoid striking him; that the conduct of the child constituted negligence on his part and a failure by him to exercise that degree of care and diligence for his own protection of which he was capable; that the child could have avoided the consequences of the defendants' negligence (which they expressly denied), if any, by the exercise of such care and diligence as he was capable of exercising.
An ordinance of the town of Warner Robbins establishing a maximum speed limit of 25 miles per hour, and no more than 15 miles per hour when crossing an intersecting street, and providing that "the speed of vehicles shall at all times be controlled by *Page 65 
traffic conditions, and may be deemed reckless although within these limits," was introduced in evidence. The child was struck as he ran diagonally across the paved street, with his back or side toward the approaching truck. The driver of the truck testified that he did not see the child until he was within 2 or 3 feet of the truck, and that he did not blow his horn or otherwise signal his approach to the child, and did not apply his brakes or make any effort to stop the truck before striking the child. He further testified that his attention was diverted to a vehicle approaching from the opposite direction, and that for this reason he did not see the child. There was some evidence that the truck had no horn or signaling device, that its brakes were not in good working order, and that it ran from 40 to 100 feet after striking the child before it stopped. The truck's speed was estimated by witnesses to have been about 20 or 25 miles per hour at the time the child was struck, and there was evidence that it had not slowed down to any extent before striking the child.
A verdict for $750 was returned for the plaintiff. She filed a motion for new trial on the general grounds and on several special grounds. It was overruled and she excepted.
1. The first special ground of the amended motion assigns error on the failure of the court to charge so much of the Code (Ann. Supp.), § 68-9919, as defines the criminal offense of reckless driving. The amended petition alleged that "at said time and place said driver drove said motor vehicle upon said street in such a manner as to be in wilful and wanton disregard of the safety of persons and said conduct on his part amounted to reckless driving and was in violation of law." Although the plaintiff alleged wilful and wanton conduct in the language of the statute, we think the evidence would have to support the allegation before the court would be authorized to give the statute in charge. The definition of reckless driving is based on wilful and wanton disregard of the safety of other persons. While the evidence was sufficient to show negligence on the part of the driver of the truck, we do not think it showed wilfulness or wantonness *Page 66 
within the meaning of the law. "The conduct of the defendant must be `such as to evidence a wilful intention to inflict the injury, or else so reckless or so charged with indifference to the consequences . . as to justify the jury in finding a wantonness equivalent in spirit to actual intent.'" King v. Smith,47 Ga. App. 360, 366 (170 S.E. 546); Reid v. Sinclair Rfg.Co., 62 Ga. App. 198, 201 (8 S.E.2d 527). We do not think this ground shows error.
2. We think the court erred as contended in ground 3 in permitting the defendants to offer evidence over timely objection as to the amount of money expended by them in keeping up all their trucks; and that any evidence as to repairs, or money expended therefor, should have been restricted to the one truck involved in the transaction under investigation.
3. In an action for damages for personal injuries, based on negligence alone, it is error to charge the statute with reference to punitive damages. Wadley v. Dooly, 138 Ga. 275
(6) (75 S.E. 153). "To authorize the imposition of punitive damages, there must be evidence of wilful misconduct, malice, fraud, wantonness, or oppression, or that entire want of care which would raise the presumption of a conscious indifference to consequences." Central of Ga. Ry. Co. v. Sowell, 3 Ga. App. 142
(59 S.E. 323), citing Southern Ry. v. O'Bryan, 119 Ga. 148
(45 S.E. 1000). We think the court properly omitted a charge on punitive damages as complained of in ground 7.
4. Grounds 8 and 9 complain of the charge of the court on the subject of emergency, and that the court expressed an opinion by the use of the words "thus creating an emergency" in the charge as given. While the question presented by these assignments of error is not free from doubt, in our minds at least, under some phases of the evidence the jury may have been authorized to find that an emergency existed, and this is ordinarily a question for the jury. Morrow v. Southeastern Stages, 68 Ga. App. 142,148 (22 S.E.2d 336). We think the substance of the charge was without error and that, for the reasons stated, the court did not err in giving the charge.
5. Ground 10 assigns error on the charge of the court in part as follows: "If, on the other hand, you decide the plaintiff is entitled to recover, you would go a step further and take up the *Page 67 
question of damages, if any, to be awarded." Of course, if the plaintiff was entitled to recover, some reasonable amount as damages should have been awarded, and this is doubtless what the court meant although it may have been inaptly stated.
6. We do not think the charge complained of in ground 11 on the measure of damages was error. It must be considered in connection with the entire charge on that subject.
7. Grounds 12 and 13 complain of the charge of the court on the subject of accident. We think this charge was error. It gave the defendants the benefit of a defense not pleaded or sustained by the evidence. See Morrow v. Southeastern Stages, supra, and Ault v. Whittemore, 73 Ga. App. 10, 15 (35 S.E.2d 526), and citations. Under the pleadings and the evidence the jury was authorized to find as they did find, that the defendants were negligent in some one or more of the ways alleged by the plaintiff, and that such negligence was the proximate cause of the death of the child as claimed by the plaintiff. Since a jury has determined that the defendants are liable, on evidence which we think clearly authorized such finding, we do not think that the charge on accident was proper. "The idea of accident excludes responsibility because of negligence." Seaboard Air-Line Ry. v.Bradley, 125 Ga. 193, 198 (54 S.E. 69, 114 Am. St. Rep. 196). Since accident was not involved under our view of the case, the charge on that subject was probably harmful to the plaintiff in view of the very small verdict for the plaintiff.
8. The charge complained of in ground 14 shows no error.
9. The plaintiff excepts to the inadequacy of the verdict. We think this point is covered by the general grounds of the motion, and we do not now pass on these since the case is to be tried again.
10. Several assignments of error deal with the same question and may be treated together. These relate to the age of the child and to the contention of the plaintiff that the child, because of its youthfulness and inexperience, could not be charged with any degree of diligence respecting its own safety. This point was made in the first instance in a demurrer filed by the plaintiff to the answer of the defendants. The answer alleged that the child carelessly and negligently ran into the highway immediately in front of the truck, and that this conduct amounted to a failure on the part of said child to exercise that degree of care and diligence *Page 68 
for his own safety of which he was capable; and that said child could have avoided the consequences of the defendants' negligence, if any, by the exercise of such care and diligence as such child was capable of exercising.
Grounds 4 and 6 of the amended motion complain of the charge of the court to the effect that said child was chargeable with such care as its capacity, mental and physical, fitted it for exercising in the circumstances of the occasion and situation under investigation, and that said child was under the duty of exercising that degree of care. Ground 5 assigns error on the refusal of the court to charge the jury "that a child 5 years, 2 months and 25 days old is incapable of contributory negligence." The trial court had to decide whether this child was, as a matter of law, incapable of exercising due diligence for its own care and safety, or whether this question should be decided by the jury. The trial court took the view that the rule as to due care in a child of tender years (Code, § 105-204) was applicable, and submitted the question to the jury. We now have the same question that was presented to the trial court, and must decide whether this child, 5 years, 2 months and 25 days old, could be guilty of contributory negligence and of a failure to exercise due care for his own safety.
The lowest age of accountability for crime in this state is 10 years. Code, § 26-302. Between the ages of 10 and 14 it is a jury question whether a child knows the distinction between good and evil (Code, § 26-301), and the burden of showing that such child was capax doli, or capable of committing crime, is upon the state. Ford v. State, 100 Ga. 63 (1) (25 S.E. 845). A child is responsible for its torts under the same rules applicable to the commission of crime. Code, § 105-1806; CentralRailroad v. Brinson, 70 Ga. 207 (5d). Six years is the age at which children may enter the common schools in this State. Code, § 32-937. The statute relating to the care required of children is the Code, § 105-204, as follows: "Due care in a child of tender years is such care as its capacity, mental and physical fits it for exercising in the actual circumstances in the occasion and situation under investigation." That section is a codification from the decision in Western  Atlantic R. Co. v.Young, 81 Ga. 397 (7 S.E. 912, 12 Am. St. Rep. 320), and83 Ga. 512 (10 S.E. 197), and *Page 69 
in that case the child was 9 years of age. The codifiers placed in the statute no arbitrary age limit but applied the rule to a child of tender years. In Crawford v. Southern Ry. Co.,106 Ga. 870 (2) (33 S.E. 826) it was said: "Where from the age of the child there can be no doubt as to its want of capacity to avoid danger the court will decide this question as matter of law," and "We think that there can be no doubt as to the soundness of the proposition that a child only four and a half years of age is incapable of being guilty of contributory negligence." That ruling was followed by this court in Locke v.Ford, 54 Ga. App. 322 (2) (187 S.E. 715). As far as we know these are the only Georgia cases holding as a matter of law that a child of any particular age is conclusively presumed to be incapable of contributory negligence. But it seems to be the duty of the courts, under the ruling in the Crawford case, to make such holding if the age of the child is such that the court has no doubt as to the child's want of capacity to avoid danger. InSimmons v. Atlanta  West Point R. Co., 46 Ga. App. 93
(166 S.E. 666), this court applied the statute quoted above as to due care in a child of tender years, but held that as to a boy 7 years of age no presumption arises that he will apprize danger and will act with the discretion of an adult in going upon a railroad truck and in getting out of the way of an approaching train, citing as authority Southern Ry. Co. v. Chatman,124 Ga. 1026 (53 S.E. 692, 6 L.R.A. (N.S.) 283, 4 Ann. Cas. 675), in which case the person injured was a boy 10 years of age.
While there is not complete uniformity in the decisions of the courts throughout the country as to a definite age at which a child becomes responsible for its own negligence, and at which a child of tender years may be responsible for contributory negligence, the majority of the cases hold that a child between the ages of 4 and 5 years is incapable of personal negligence, and that the rule of conclusive presumption of incapacity applies to a child of such an age. And, "in cases of injuries to children between 5 and 6 years of age, the correct rule would seem to be that the doctrine of conclusive presumption of incapacity should apply. This is true, not so much because the child is lacking in knowledge, as because it is lacking in judgment and discretion. It may know, for example, that if run over by a streetcar or team *Page 70 
injury will probably result, but the probability of such accidents if its fails to exercise care, and the possible extent of the injury in case a collision occurs, are not to any considerable degree appreciated." 107 A.L.R. 107. This quotation is apparently supported by decisions from Federal courts and from the courts of many of the States. The same conclusion reached by A.L.R. is stated by Blashfield in Vol. 2, § 1521, as follows: "It is almost universally agreed that a child of the tender years of 6 or less does not have sufficient intelligence to be chargeable with negligence so as to defeat recovery for injuries caused by a collision with an automobile."
Under the great weight of authority from other jurisdictions, and for the reasons expressed, we think it is sound to hold as a matter of law in this case that the child here involved was too young, immature and inexperienced, to possess sufficient judgment, prudence and discretion, under the circumstances surrounding his death to be chargeable with a failure to exercise due care for his own safety, or with contributory negligence. It follows that the trial court erred as contended in overruling the plaintiff's demurrer to the defendant's answer, and in submitting the question of the child's capacity to the jury.
The court erred in not granting the motion for new trial.
Judgment reversed. Sutton, C. J., and Felton, J., concur.